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 7                                               Attorneys for Defendant Thrive
                                                 Causemetics, Inc.
 8
 9                              UNITED STATES DISTRICT COURT
10                             CENTRAL DISTRICT OF CALIFORNIA
11
     THRIVE NATURAL CARE, INC.,                   Case No. 2:20-cv-9091-PA-AS
12
                  Plaintiff,                      Hon. Percy Anderson
13
           v.                                     JOINT SUMMARY OF WITNESS
14                                                TESTIMONY
     THRIVE CAUSEMETICS, INC.,
15                                                Trial Date:    November 9, 2021
                  Defendant.                      Time:          9:30 a.m.
16                                                Place:         Courtroom 9A
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                                JOINT SUMMARY OF WITNESS TESTIMONY
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 1         Pursuant to the Court’s Civil Trial Scheduling Order (ECF No. 19) and the
 2   Court’s October 7, 2021 Minute Order (ECF No. 115), Plaintiff Thrive Natural Care,
 3   Inc. and Defendant Thrive Causemetics, Inc. submit the attached Joint Summary of
 4   Witness Testimony. Notwithstanding the parties’ respective estimates of witness
 5   examination times reflected in the attached, the parties request that the Court grant
 6   each party the same total amount of time for witness examination.
 7   Dated: October 15, 2021                THE MCARTHUR LAW FIRM, PC
                                            By: /s/ Stephen C. McArthur
 8                                          STEPHEN C. MCARTHUR
                                            Stephen McArthur
 9                                          stephen@smcarthurlaw.com
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10                                          tom@smcarthurlaw.com
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11                                          Beverly Hills, CA 90212
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12
                                            Attorneys for Plaintiff Thrive
13                                          Natural Care, Inc.
14
     DATED: October 15, 2021                SIDLEY AUSTIN LLP
15
                                            By: /s/ Rollin A. Ransom
16                                          Rollin A. Ransom (State Bar No. 196126)
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                                            Attorneys for Defendant Thrive
23                                          Causemetics, Inc.
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                             JOINT SUMMARY OF WITNESS TESTIMONY
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 1                               SIGNATURE ATTESTATION
 2         I am the CM/ECF filer whose identification and password are being used to file
 3   the foregoing Joint Summary of Witness Testimony. In compliance with Local Civil
 4   Rule 5-4.3.4(a)(2)(i), I hereby attest that every signatory has concurred in this filing.
 5   DATED: October 15, 2021                 By: /s/ Rollin A. Ransom
 6                                           Rollin A. Ransom

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                             JOINT SUMMARY OF WITNESS TESTIMONY
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                                               JOINT TRIAL WITNESS ESTIMATE FORM


CASE: 2:20-cv-09091-PA-AS                                              TRIAL DATE: November 9, 2021, 9:00 a.m.

       WITNESS NAME         PARTY CALLING WITNESS            X-EXAMINER’S   DESCRIPTION OF TESTIMONY                 COMMENTS
                                                                ESTIMATE
 1   Alex McIntosh (in      Plaintiff (by declaration; 1.5   4 hours        Plaintiff’s summary: Testimony       Subject of in limine
     person)                hours for redirect)                             concerning: Thrive Natural Care’s    motion
                                                                            founding and business operations;
                                                                            selection and meaning of the
                                                                            “Thrive” mark; early operations
                                                                            under Ecomundi Ventures, LLC and
                                                                            assignment of all goodwill and
                                                                            business operations to Thrive
                                                                            Natural Care; sale of goods branded
                                                                            with Thrive marks; application for
                                                                            and prosecution of federal trademark
                                                                            applications for Thrive marks;
                                                                            communications with
                                                                            representatives from Thrive
                                                                            Causemetics; Thrive’s trademark
                                                                            enforcement efforts; Thrive
                                                                            Causemetics’ use of “Thrive” brand
                                                                            and actual confusion between the
                                                                            parties or the products of each;
                                                                            damages to Thrive Natural Care
                                                                            from Thrive Causemetics’
                                                                            infringement; marketing channels
                                                                            and customers for Thrive Natural
                                                                            Care products; degree of consumer
                                                                            care in skincare market; Thrive
                                                                            Natural Care’s marketing and
                                                                            advertising and effect on same by
                                                                            Thrive Causemetics’ marketing and
                                                                            advertising.

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2   Rob Wallace (in person)   Plaintiff (by declaration; .75   1.5 hours        Plaintiff’s summary: Testimony
                              hours for redirect)                               concerning: construction and
                                                                                provision of consumer surveys for
                                                                                confusion between parties’ skincare
                                                                                products; meaning of responses to
                                                                                surveys and level of confusion
                                                                                between the parties’ products;
                                                                                additional findings relevant to
                                                                                likelihood of confusion analysis; the
                                                                                online presence of the parties’
                                                                                products and advertising; the
                                                                                exposure of Thrive Causemetics’
                                                                                products and advertising to
                                                                                consumers searching online for
                                                                                “Thrive” and related terms in
                                                                                connection with skincare products.
3   David Drews (in person) Plaintiff (by declaration; .5      .5 hours         Plaintiff’s summary: Testimony        Subject of in limine
                            hours for redirect)                                 concerning: Thrive Natural Care’s     motion
                                                                                damages and basis for calculation of
                                                                                such damages, including the amount
                                                                                of disgorged profits and Thrive
                                                                                Causemetics’ revenues and profits
                                                                                from infringing sales.
4   Karissa Bodnar            Plaintiff (by deposition         (by deposition   Plaintiff’s summary: Testimony
                              designation)                     counter-         concerning: Thrive Causemetics’
                                                               designation)     founding; expansion into skincare
                                                                                market and sale of goods branded
                                                                                with infringing marks; knowledge of
                                                                                Thrive Natural Care, Thrive marks,
                                                                                Thrive Natural Care trademark
                                                                                registrations; application for and
                                                                                prosecution of federal trademark
                                                                                applications for Thrive Causemetics’
                                                                                marks containing “Thrive” term;
                                                                                communications with Thrive Natural
                                                                                Care representatives; Thrive
                                                                                Causemetics’ use of “Thrive

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                                                                               Causemetics” brand on skincare
                                                                               products; marketing channels and
                                                                               customers for Thrive Causemetics’
                                                                               products; Thrive Causemetics’
                                                                               marketing and advertising of
                                                                               infringing skincare products; Thrive
                                                                               Causemetics’ business operations.
5   Ned Menninger            Plaintiff (by deposition         (by deposition   Plaintiff’s summary: Testimony
                             designation)                     counter-         concerning: Thrive Causemetics’
                                                              designation)     revenue, profits, and claimed
                                                                               expenses relating to sales of
                                                                               infringing skincare products; Thrive
                                                                               Causemetics’ business operations
                                                                               and financials; Thrive Causemetics’
                                                                               marketing and advertising of
                                                                               infringing skincare products.
6   Brendan Gardner-         Plaintiff (by deposition         (by deposition   Plaintiff’s summary: Testimony
    Young                    designation)                     counter-         concerning: Thrive Causemetics’
                                                              designation)     marketing and advertising of
                                                                               infringing skincare products;
                                                                               purchase and use of advertising
                                                                               keywords; Thrive Causemetics’
                                                                               business operations.
7   Karissa Bodnar (in       Defendant (by declaration on     2 hours          Defendant’s summary: Testimony
    person)                  direct in defendant’s case; .5                    concerning: Thrive Causemetics’
                             hours for redirect)                               origins, mission, selection of the
                                                                               Thrive Causemetics mark, channels
                                                                               of commerce, Thrive Causemetics
                                                                               target consumer and customer base;
                                                                               communications between Thrive
                                                                               Causemetics and Plaintiff; lack of
                                                                               Thrive Causemetics knowledge of
                                                                               actual consumer confusion.
8   Ned Menninger (in        Defendant (by declaration on     1.5 hours        Defendant’s summary: Testimony       Subject of in limine
    person)                  direct in defendant’s case; .5                    concerning: Thrive Causemetics’      motion
                             hours for redirect)                               financial information from 2018 to
                                                                               2021 including revenues, advertising

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                                                                                      expenditures, and overhead expenses
                                                                                      related to the production and sale of
                                                                                      skincare products.
9   Itamar Simonson (in       Defendant (by declaration on      2 hours               Defendant’s summary: Testimony
    person)                   direct; .5 hours for redirect)                          concerning: expertise in consumer
                                                                                      purchasing behavior; design and
                                                                                      analysis of consumer survey
                                                                                      showing no likelihood of confusion;
                                                                                      rebuttal testimony as to the design
                                                                                      and conclusions of survey offered by
                                                                                      Thrive Natural Care.
10 Karl Schulze (in person)   Defendant (by declaration on      1.5 hours             Defendant’s summary: Testimony          Subject of in limine
                              direct; .5 hours for redirect)                          concerning: expertise as to economic    motion
                                                                                      damages claimed in trademark
                                                                                      infringement cases; rebuttal
                                                                                      testimony as to the damages
                                                                                      calculations offered by Thrive
                                                                                      Natural Care.
11 Lisa Ertz (in person)      Defendant (by declaration on      .25 hours             Defendant’s summary: Testimony          Subject of in limine
                              direct; .25 hours for redirect)                         concerning: communications with         motion
                                                                                      Thrive Natural Care regarding
                                                                                      potential partnership.
12 Alex McIntosh (in          Defendant (on direct/redirect     0.5 hour (on cross-   Defendant’s summary (to the extent
   person)                    as adverse witness in             examination in        not covered in cross-examination in
                              defendant’s case) (.75 hours)     defendant’s case)     plaintiff’s case): Testimony
                                                                                      concerning: origin of Thrive Natural
                                                                                      Care, sustainability mission,
                                                                                      selection of the Thrive mark;
                                                                                      invalidity of assignment from
                                                                                      Ecomundi Ventures; Thrive Natural
                                                                                      Care financial performance
                                                                                      including sales, revenues, and
                                                                                      advertising expenditures; valuations
                                                                                      of company and Thrive mark; target
                                                                                      consumers and channels of
                                                                                      commerce.


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